                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                     Greeneville Division

   BRISTOL ANESTHESIA SERVICES, P.C.,                     )
                                                          )
                          Plaintiff,                      )
                                                          )
   v.                                                     )    Case No. 2:15-cv-00017
                                                          )
   CARILION CLINIC MEDICARE                               )
   RESOURCES, LLC, d/b/a MAJESTACARE,                     )
                                                          )
                          Defendant.                      )

                  MOTION IN LIMINE OBJECTING TO CERTAIN EXHIBITS

          Pursuant to the Scheduling Order (ECF No. 30) entered in this case, as modified by

   subsequent Order (ECF No. 81), Plaintiff Bristol Anesthesia Services, P.C. (“Bristol

   Anesthesia”), by counsel, asks this Court to exclude from trial of this case the following exhibits

   which the Defendant Carilion Clinic Medicare Resources, LLC, d/b/a Majestacare (“Defendant”)

   has indicated it will or may seek to introduce at trial:

          Exhibits 7 and 36 – This exhibit, an unsigned purported agreement between Bristol

   Anesthesia and the Virginia Department of Medical Assistance Services (“DMAS”), is included

   twice on Defendant’s witness list. It should be excluded from trial of this case because Bristol

   Anesthesia never signed it, and no evidence shows that Bristol Anesthesia otherwise agreed to its

   terms, and the purported agreement is not binding upon Bristol Anesthesia. See Tampone v.

   Richmond, No. 10-11776, 2013 WL 118431 at *5-6 (E.D. Mich. Jan. 9, 2013) (excluding

   unsigned agreement from evidence). Furthermore, Defendant is not a party (or a signatory) to

   the purported agreement.      In sum, the purported agreement has no bearing on the dispute

   between Bristol Anesthesia and Defendant, and even if it did, it would still not be admissible

   because it does not bind Bristol Anesthesia with respect to Defendant.




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          Exhibit 13 – This exhibit, a listing of rates that Defendant agreed to pay other anesthesia

   providers to whom Defendant offered written provider contracts, should be excluded from trial

   of this case. As to Bristol Anesthesia’s breach of contract claim, what Defendant now says it

   agreed to pay other providers is irrelevant to what it agreed to pay Bristol Anesthesia, as it says

   nothing at all about the course of dealing between the parties to this lawsuit. See Fed. R. Evid.

   402. As to Bristol Anesthesia’s quantum meruit claim, Defendant should not be allowed to

   introduce “low ball” evidence of reasonable value based on the written contracts it offered other

   providers, when the undisputed evidence is that Defendant never offered Bristol Anesthesia any

   sort of written contract. For purposes of quantum meruit, the “‘reasonable value [of medical

   services] is to be determined by considering the [provider’s] internal factors as well as the

   similar charges of other [providers] in the community.’”         Doe v. HCA Health Servs. of

   Tennessee, Inc., 46 S.E.3d 191, 198-99 (Tenn. 2001). Evidence of discounted rates paid by

   specific classes of patients, including Medicare or Medicaid insureds, pursuant to written

   contracts is not probative of the reasonable value of those services for purposes of quantum

   meruit. See Eufala Hosp. Corp. v. Lawrence, 32 So.3d 30, 45-46 (Ala. 2009).

          Exhibits 14 and 29 – This exhibit, a list of the amounts Defendant claims it overpaid

   Bristol Anesthesia and many other anesthesia providers, is included twice on Defendant’s

   witness list. It should be excluded from trial of this case because what Defendant now claims it

   overpaid other anesthesia providers is irrelevant to what it was supposed to pay Bristol

   Anesthesia, what it did pay Bristol Anesthesia, and the propriety of its attempts to recoup

   payments made to Bristol Anesthesia, which are the issues relevant to resolution of this case.

   See Fed. R. Evid. 402.




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          Exhibit 35 – This exhibit, an emailed freedom of information act (“FOIA”) request from

   Defendant’s president to DMAS, and DMAS’ public information officer’s emailed response to

   her (without any responsive documents), should be excluded from trial of this matter, as it is not

   relevant to any dispute between the parties to this case. It only evidences Defendant’s February

   2015 attempt to obtain any written agreements between DMAS and Bristol Anesthesia,

   apparently since Defendant had not entered into with Bristol Anesthesia, or even offered Bristol

   Anesthesia, a written contract before or during the 2012-2014 time period in which Bristol

   Anesthesia provided services to Defendant’s insured members.         The FOIA request and the

   response are both out-of-court statements, and are thus inadmissible hearsay. Fed. R. Evid.

   801(c) and 802. No exception applies to permit their admission.

                                                Respectfully submitted,
                                                BRISTOL ANESTHESIA
                                                SERVICES, P.C.

   By Counsel:

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 30th day of June, 2017, a true and accurate copy of the

   foregoing was served by CM/ECF on the following:

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